Case 1:17-cv-23193-JEM Document 184 Entered on FLSD Docket 06/01/2021 Page 1 of 1




                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 17-23193-CV-MARTINEZ

  JEAN EMMANUEL DORVIL,

         Plaintiff,
  v.

  NATIONSTAR MORTGAGE LLC,

        Defendant.
  ___________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THE MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States
  Magistrate Judge for appropriate disposition (DE 155). Magistrate Judge Otazo-Reyes filed a
  Report and Recommendation (“R&R”) recommending that Plaintiff’s Motion for Entitlement to
  Attorneys’ Fees be granted. (DE 180). Nationstar filed objections, which the Court has considered
  even through the objections were untimely. (DE 183). The Court having reviewed the R&R and
  record in this case de novo, it is hereby
         ORDERED AND ADJUDGED that United States Magistrate Judge Otazo-Reyes’ Report
  and Recommendation (DE 180) is AFFIRMED and ADOPTED. Plaintiff’s Motion for
  Entitlement to Attorneys’ Fees (DE 170) is GRANTED. Plaintiff is directed to file a motion
  regarding the amount of fees, together with supporting documentation, no later than June 25, 2021.
         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of June, 2021.

                                                      ____________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
